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 1   J. Toney
     Attorney at Law
 2   State Bar No. 43143
 3   P.O. Box 1515
     Woodland, California 95776
 4   (530) 666-1908
     yoloconflict@aol.com
 5
     Attorney for Juan Camacho
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          )
                                        ) Cr. No. 07-289
10           Plaintiff,                 )
                                        ) ORDER CONTINUING STATUS
11      v.                              ) CONFERENCE
                                        ) (Oct 21, 2008 before Judge
12    JUAN CAMACHO et al                ) Karlton)
             Defendants                 )
13   ___________________________________)
14
15   This matter came on for status conference on September 9, 2008.
16   At the request of the Defense, the Government not objecting, a
17   further status conference is set for October 21, 2008 at 9:15 AM.
18   Time until that date is excluded from the requirements of the
19   Speedy Trial Act due to both complexity and the need for counsel
20   for the Defendants to prepare for trial (Local Codes T2 and T4).
21
22   Dated September 19, 2008
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